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          IN THE UNITED STATES DISTMCT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

DEBORAH LAUFER, *
                                          *

            Plaintiff, *
                                          *

      v. * 1:19-CV-05691-ELR
                                          *

HARMONY GROUP CANTON LLC, *
a Georgia Corporation, *
                                          *

            Defendant. *




                                    ORDER


      Plaintiff Deborah Laufer filed a Notice of Settlement indicating that the

Parties have reached a settlement in principle. [Doc. 19]. For good cause shown,


the Court DIRECTS the Clerk to ADMINISTRATIVELY CLOSE this case. The

Parties shall file a stipulation of dismissal upon finalization of the settlement

documents. If settlement fails, the Parties should promptly move to reopen the case.


      SO ORDERED, this _2^ day of April, 2020.



                                              ^^id? /(.i6^y\
                                              Eleanor L. Ross
                                              United States District Judge
                                              Northern District of Georgia
